                     Case 1:06-cr-00167-LJO Document 132 Filed 12/11/08 Page 1 of 3
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
            CHARLENE MARIE BOEH
                      (Defendant’s Name)                                  Criminal Number: 1:06CR00167-002


                                                                          John Garland
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) 1, 2, 3, 4 as alleged in the violation petition filed on 06/06/2008 .
[]  was found in violation of condition(s) of supervision as to charge(s)       after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 08/20/2007 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                          Decem ber 5, 2008
                                                                                    Date of Im position of Sentence


                                                                                        /s/ Lawrence J. O’Neill
                                                                                      Signature of Judicial Officer


                                                                       LAW RENCE J. O'NEILL, United States District Judge
                                                                               Nam e & Title of Judicial Officer


                                                                                           Decem ber 10, 2008
                                                                                                 Date
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AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                1:06CR00167-002                                                           Judgment - Page 2 of 3
DEFENDANT:                  CHARLENE MARIE BOEH

                                                       ADDITIONAL VIOLATION
                                                                              Date Violation
Violation Num ber                    Nature of Violation                      Concluded

Charge 1                             USE OF CONTROLLED SUBSTANCES             04/11/2008 and 04/17/2008

Charge 2                             FAILURE TO REPORT A CHANGE
                                     OF ADDRESS                               05/19/2008

Charge 3                             FAILURE TO REPORT FOR
                                     URINE TESTING                            02/14/2008 to 6/3/2008

Charge 4                             FAILURE TO PARTICIPATE
                                     IN COUNSELING                            02/1/2008 to 6/2/2008
                    Case 1:06-cr-00167-LJO Document 132 Filed 12/11/08 Page 3 of 3
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               1:06CR00167-002                                                               Judgment - Page 3 of 3
DEFENDANT:                 CHARLENE MARIE BOEH



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 55 days, with credit for 31 days already served, with no further probation supervision to follow. Any previously
im posed crim inal m onetary peanlties that rem ain unpaid shall rem ain in effect .




[]       The court m akes the following recom m endations to the Bureau of Prisons:




[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                 Deputy U.S. Marshal
